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 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Brian Whitaker                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     Ann Inc., a Delaware Corporation          Act; Unruh Civil Rights Act

15               Defendants.

16
17
           Plaintiff Brian Whitaker complains of Ann Inc., a Delaware
18
     Corporation; and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. He is
22
     substantially limited in his ability to walk. He suffers from a C-4 spinal cord
23
     injury. He is a quadriplegic. He uses a wheelchair for mobility.
24
       2. Defendant Ann Inc. owned LOFT Outlet located at or about 48650
25
     Seminole Dr, Cabazon, California, in November 2020.
26
       3. Defendant Ann Inc. owns LOFT Outlet (“Store”) located at or about
27
     48650 Seminole Dr, Cabazon, California, currently.
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 1     4. Plaintiff does not know the true names of Defendants, their business
 2   capacities, their ownership connection to the property and business, or their
 3   relative responsibilities in causing the access violations herein complained of,
 4   and alleges a joint venture and common enterprise by all such Defendants.
 5   Plaintiff is informed and believes that each of the Defendants herein is
 6   responsible in some capacity for the events herein alleged, or is a necessary
 7   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
 8   the true names, capacities, connections, and responsibilities of the Defendants
 9   are ascertained.
10
11     JURISDICTION & VENUE:
12     5. The Court has subject matter jurisdiction over the action pursuant to 28
13   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
14   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
15     6. Pursuant to supplemental jurisdiction, an attendant and related cause
16   of action, arising from the same nucleus of operative facts and arising out of
17   the same transactions, is also brought under California’s Unruh Civil Rights
18   Act, which act expressly incorporates the Americans with Disabilities Act.
19     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
20   founded on the fact that the real property which is the subject of this action is
21   located in this district and that Plaintiff's cause of action arose in this district.
22
23     FACTUAL ALLEGATIONS:
24     8. Plaintiff went to the Store in November 2020 with the intention to avail
25   himself of its goods and to assess the business for compliance with the
26   disability access laws.
27     9. The Store is a facility open to the public, a place of public
28   accommodation, and a business establishment.


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 1     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 2   to provide wheelchair accessible point of sale machines in conformance with
 3   the ADA Standards as it relates to wheelchair users like the plaintiff.
 4     11. The Store provides point of sale machines for use by customers but fails
 5   to provide wheelchair accessible point of sale machines.
 6     12. A problem that plaintiff encountered was that the point of sale machines
 7   were located more than 50 inches above the finish floor.
 8     13. Plaintiff believes that there are other features of the point of sale
 9   machines that likely fail to comply with the ADA Standards and seeks to have
10   fully compliant point of sale machines for wheelchair users.
11     14. On information and belief, the defendants currently fail to provide
12   wheelchair accessible sales counters.
13     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
14   personally encountered these barriers.
15     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
16   wheelchair accessible facilities. By failing to provide accessible facilities, the
17   defendants denied the plaintiff full and equal access.
18     17. The failure to provide accessible facilities created difficulty and
19   discomfort for the Plaintiff.
20     18. The defendants have failed to maintain in working and useable
21   conditions those features required to provide ready access to persons with
22   disabilities.
23     19. The barriers identified above are easily removed without much
24   difficulty or expense. They are the types of barriers identified by the
25   Department of Justice as presumably readily achievable to remove and, in fact,
26   these barriers are readily achievable to remove. Moreover, there are numerous
27   alternative accommodations that could be made to provide a greater level of
28   access if complete removal were not achievable.


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 1     20. Plaintiff will return to the Store to avail himself of its goods and to
 2   determine compliance with the disability access laws once it is represented to
 3   him that the Store and its facilities are accessible. Plaintiff is currently deterred
 4   from doing so because of his knowledge of the existing barriers and his
 5   uncertainty about the existence of yet other barriers on the site. If the barriers
 6   are not removed, the plaintiff will face unlawful and discriminatory barriers
 7   again.
 8     21. Given the obvious and blatant nature of the barriers and violations
 9   alleged herein, the plaintiff alleges, on information and belief, that there are
10   other violations and barriers on the site that relate to his disability. Plaintiff will
11   amend the complaint, to provide proper notice regarding the scope of this
12   lawsuit, once he conducts a site inspection. However, please be on notice that
13   the plaintiff seeks to have all barriers related to his disability remedied. See
14   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
15   encounters one barrier at a site, he can sue to have all barriers that relate to his
16   disability removed regardless of whether he personally encountered them).
17
18   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
19   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
20   Defendants.) (42 U.S.C. section 12101, et seq.)
21     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
22   again herein, the allegations contained in all prior paragraphs of this
23   complaint.
24     23. Under the ADA, it is an act of discrimination to fail to ensure that the
25   privileges, advantages, accommodations, facilities, goods and services of any
26   place of public accommodation is offered on a full and equal basis by anyone
27   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
28   § 12182(a). Discrimination is defined, inter alia, as follows:


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 1            a. A failure to make reasonable modifications in policies, practices,
 2               or procedures, when such modifications are necessary to afford
 3               goods,    services,    facilities,   privileges,   advantages,      or
 4               accommodations to individuals with disabilities, unless the
 5               accommodation would work a fundamental alteration of those
 6               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 7            b. A failure to remove architectural barriers where such removal is
 8               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 9               defined by reference to the ADA Standards.
10            c. A failure to make alterations in such a manner that, to the
11               maximum extent feasible, the altered portions of the facility are
12               readily accessible to and usable by individuals with disabilities,
13               including individuals who use wheelchairs or to ensure that, to the
14               maximum extent feasible, the path of travel to the altered area and
15               the bathrooms, telephones, and drinking fountains serving the
16               altered area, are readily accessible to and usable by individuals
17               with disabilities. 42 U.S.C. § 12183(a)(2).
18     24. When a business provides facilities such as point of sale machines, it
19   must provide accessible point of sale machines.
20     25. Here, accessible point of sale machines have not been provided in
21   conformance with the ADA Standards.
22     26. The Safe Harbor provisions of the 2010 Standards are not applicable
23   here because the conditions challenged in this lawsuit do not comply with the
24   1991 Standards.
25     27. A public accommodation must maintain in operable working condition
26   those features of its facilities and equipment that are required to be readily
27   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
28     28. Here, the failure to ensure that the accessible facilities were available


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 1   and ready to be used by the plaintiff is a violation of the law.
 2
 3   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 4   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 5   Code § 51-53.)
 6      29. Plaintiff repleads and incorporates by reference, as if fully set forth
 7   again herein, the allegations contained in all prior paragraphs of this
 8   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
 9   that persons with disabilities are entitled to full and equal accommodations,
10   advantages, facilities, privileges, or services in all business establishment of
11   every kind whatsoever within the jurisdiction of the State of California. Cal.
12   Civ. Code §51(b).
13      30. The Unruh Act provides that a violation of the ADA is a violation of the
14   Unruh Act. Cal. Civ. Code, § 51(f).
15      31. Defendants’ acts and omissions, as herein alleged, have violated the
16   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
17   rights to full and equal use of the accommodations, advantages, facilities,
18   privileges, or services offered.
19      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
20   discomfort or embarrassment for the plaintiff, the defendants are also each
21   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
22   (c).)
23
24             PRAYER:
25             Wherefore, Plaintiff prays that this Court award damages and provide
26   relief as follows:
27           1. For injunctive relief, compelling Defendants to comply with the
28   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the


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 1   plaintiff is not invoking section 55 of the California Civil Code and is not
 2   seeking injunctive relief under the Disabled Persons Act at all.
 3       2. Damages under the Unruh Civil Rights Act, which provides for actual
 4   damages and a statutory minimum of $4,000 for each offense.
 5       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
 6   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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 8
     Dated: November 17, 2020         CENTER FOR DISABILITY ACCESS
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11                                    By:
                                      _______________________
12
                                             Russell Handy, Esq.
13                                           Attorney for plaintiff
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